                       Case 15-11880-BLS             Doc 1006-2         Filed 05/27/16         Page 1 of 1

                                                    Notice Recipients
District/Off: 0311−1                      User: GingerM                        Date Created: 5/27/2016
Case: 15−11880−BLS                        Form ID: ntcBK                       Total: 16


Recipients of Notice of Electronic Filing:
ust         United States Trustee         USTPREGION03.WL.ECF@USDOJ.GOV
aty         Colin R. Robinson          crobinson@pszjlaw.com
aty         Dain A. De Souza           Dain.DeSouza@skadden.com
aty         James E. O'Neill         jo'neill@pszjlaw.com
aty         Jeffrey N. Pomerantz          jpomerantz@pszjlaw.com
aty         John A. Morris         jmorris@pszjlaw.com
aty         Laura Davis Jones          ljones@pszjlaw.com
aty         Laura Davis Jones          ljones@pszjlaw.com
aty         Mark S. Kenney          mark.kenney@usdoj.gov
aty         Michael Seidl         mseidl@pszjlaw.com
aty         Van C. Durrer, II         van.durrer@skadden.com
                                                                                                                TOTAL: 11

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Quiksilver, Inc.     5600 Argosy Circle        Huntington Beach, CA 92649
aty         Annie Z. Li      Skadden, Arps, Slate, Meagher & Flom LLP         300 South Grand Ave.        Suite
            3400        Los Angeles, CA 90071
aty         James E. O'Neill      Pachulski Stang Ziehl & Jones LLP       919 North Market Street, 17th Floor      PO Box
            8705        Wilmington, DE 19899−8705
aty         Jason D. Russell      Skadden Arps Slate Meagher & Flom LLP         155 N. Wacker Drive         Chicago, IL
            60606
aty         Jessica S. Kumar       Skadden, Arps, Slate, Meagher & Flom LLP        155 North Wacker Drive        Chicago, IL
            60606−1720
                                                                                                                  TOTAL: 5
